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                              EXHIBIT 1
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                                                      UNITED STATES DISTRICT COURT
                                                      SOUTHERN DISTRICT OF FLORIDA

                                                      CASE NO.: 18-CV-24100-COOKE/
                                                                 GOODMAN

   DIGNA VINAS,

          Plaintiff,

   vs.

   THE INDEPENDENT ORDER OF
   FORESTERS,

         Defendant.
   ______________________________/

                              SECOND AMENDED COMPLAINT

          COMES NOW, Plaintiff, Digna Vinas (“Vinas”), by and through her undersigned

   counsel, and hereby sues the Defendant, The Independent Order of Foresters (“Foresters”),

   and states:

          1.      The jurisdiction of this Court is predicated on 28 U.S.C. §1332 in that, at all

   times material hereto, the amount in controversy exceeds the sum of Seventy-Five Thousand

   and 00/100 Dollars ($75,000.00), exclusive of interest, costs and attorneys’ fees and is

   between a citizen of the State of Florida, a citizen of a foreign state, a Canadian insurance

   company with its place of incorporation and principal place of business in Toronto, Ontario,

   Canada. This Court has original jurisdiction of all civil actions between “citizens of a state

   and citizens or subjects of a foreign state” under §1332(a)(2).

          2.      At all times material hereto, the Plaintiff, Vinas, was a citizen of the State of

   Florida and resident of Miami-Dade County, Florida, and was in all respects, sui juris.
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          3.      At all times material hereto, the Defendant, Foresters, was a Canadian

   corporation with its citizenship in Canada, and its principal place of business in Toronto,

   Ontario, Canada that was authorized to issue life insurance policies/Certificates within the

   State of Florida.

          4.      At all times material hereto, and more specifically on January 26, 2015,

   Foresters issued a SMART Universal Life Insurance Policy/Certificate to Rigoberto Vinas,

   bearing Certificate No. 83556627 (“Policy”). A copy of the Policy/Certificate is attached

   hereto as Exhibit “A”.

          5.      At all times material hereto, Digna Vinas, was the wife of Rigoberto Vinas and

   was the sole beneficiary under the Policy and is therefore a direct and intended third party

   beneficiary of the Policy between Rigoberto Vinas and Foresters.

          6.      At all times material hereto, the Policy provided a life insurance death benefit

   in the amount of Ninety-two Thousand and 00/100 Dollars ($92,000.00) in the event of the

   death of Rigoberto Vinas.

          7.      At all times material hereto the Policy was in full force and effect.

          8.      At all times material hereto, Rigoberto Vinas died while the Policy was in full

   force and effect.

          9.      At all times material hereto, Vinas has performed all conditions precedent to

   the filing of this action including filing a Death Benefit Claim, providing satisfactory proof of

   Rigoberto Vinas’ death or said conditions have been waived or excused.

          10.     At all times material hereto, Foresters denied Vinas’ claim on April 5, 2017 and

   since that time has failed to make payment under the Policy.



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                               COUNT I – BREACH OF CONTRACT

             Plaintiff readopts and realleges paragraphs 1 through 10 above as though fully set forth

   herein.

             11.    At all times material hereto, the Policy included the following terms:

                    Death Benefit
                    Payment of Death Benefit

                    Subject to the terms and conditions of the entire contract, we will
                    pay the Death Benefit if we receive satisfactory proof of the
                    insured’s death. That death must occur while the certificate is in
                    effect.

                    Interest will be paid on the death benefit calculated from the date
                    of death to the date of payment. The interest rate will be the legal
                    rate required by the insurance laws of the state governing this
                    certificate [Florida].

                                                    ...

                    The amount payable under this provision will be paid as
                    described in the Payment to Beneficiary provision.

             12.   At all times material hereto, in addition, the Policy stated:

                    Amount of Death Benefit

                    The death benefit at any time is the greater of:
                       • the amount based on the death benefit option in effect at
                          that time; and
                       • the minimum death benefit as described in the Minimum
                          Death Benefit provision.

             13.     At all times material hereto, the amount of the Death Benefit under the Policy

   was Ninety-two Thousand and 00/100 Dollars ($92,000.00).

             14.    On January 11, 2017, Rigoberto Vinas died. Thereafter, and in compliance

   with the terms of the Policy, Vinas filed a claim with Foresters complete with supporting


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   documentation indicating that Rigoberto Vinas had died and requesting payment under the

   Policy.

             15.    At all times material hereto, and more specifically, on April 5, 2017, Foresters

   sent a letter to Vinas denying Vinas’ claim and has continuously failed to make payment

   pursuant to the Policy thereby materially breaching the agreement.

             16.    As a direct and proximate result of Forester’s breach of the Policy and failure

   to fulfill its obligations under the Policy, Vinas has sustained damages in the amount of

   Ninety-two Thousand and 00/100 Dollars ($92,000.00) from January 11, 2017 to the present.

             17.    As a direct and proximate result of Foresters’ breach of the policy and its failure

   to pay Vinas the $92,000 death benefit, Vinas has sustained consequential damages, including

   but not limited to Vinas’ inability to pay necessary monthly expenses.

             18.    As a direct and proximate result of Foresters’ failure to timely pay the death

   benefit to Vinas, Vinas is being sued in state court for a collection action in the amount of

   $11,810.37 with interest continuing to accrue.

             19.    As a direct and proximate result of Foresters’ failure to timely pay the death

   benefit to Vinas, Vinas is suffering consequential damages of unpaid debts, accruing interest,

   and defense costs in defense of the county court collection action and other expenses.

             20.    At all times material hereto, Vinas has been required to retain the services of

   undersigned counsel to prosecute this action on her behalf and has agreed to pay counsel a

   reasonable fee for services rendered.

                               COUNT II – DECLARATORY RELIEF

             Plaintiff readopts and realleges paragraphs 1 through 10 above as though fully set forth

   herein.
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          21.        At all times material hereto, Foresters denied Vinas’ claim as more fully set

   forth in Count I above by attempting to rescind the Policy/Certificate and declaring the

   Policy/Certificate as void ab initio and without legal effect.

          22.     At all times material hereto, Foresters based its attempted rescission on

   Rigoberto Vinas’ response to questions in the Application and Supplemental Diabetes

   Questionnaire, to which Foresters claimed Rigoberto Vinas provided inaccurate answers.

          23.     At all times material hereto, both the Application and Diabetes Questionnaire

   required Rigoberto Vinas to answer the questions posed by providing information which was

   “true and a complete disclosure of all information requested … to the best of [his] knowledge

   and belief.”

          24.     At all times material hereto, Foresters’ attempted rescission of the Policy was

   incorrect for one or more of the following reasons:

          a.      The answers provided by Rigoberto Vinas were accurate, and therefore, there

   was no “misrepresentation” as required under Florida Statute § 627.409.

          b.      The information which Foresters claims was omitted was not “material” to

   Foresters’ determination of the risk, and Foresters would have issued the identical Policy.

          c.      Foresters improperly interpreted Florida law as applied to the facts of this case

   to require a higher threshold of accuracy than it requested in the original Application for

   insurance and the Diabetes Questionnaire.

          d.      Foresters undertook an independent investigation of Rigoberto Vinas’

   insurability prior to issuing the Policy and is therefore charged with the knowledge of the very

   medical information upon which it now seeks to rescind the Policy.



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            25.      As a result of Foresters’ failure to abide by its own contractual language as

   contained within the insurance application (which became part of the Policy), Vinas has been

   injured by Foresters’ declaration that the Policy is rescinded and VOID and its failure to

   acknowledge the Policy was in full force and effect.

            26.    An actual controversy exists between the parties as to whether the Policy in

   question is valid and in full force and effect.

            27.    Vinas is in need of a judicial declaration setting forth the respective rights of the

   parties under the Policy as well as a true interpretation of the application questions as applied

   to the facts declaring the Policy is in full force and effect.

            28.    Vinas has no adequate remedy at law as to a Declaration that the Policy is and

   was in full force and effect.

            29.    Vinas been required to retain the services of the undersigned counsel and to

   prosecute this action on her behalf and has agreed to pay counsel a reasonable fee for services

   rendered.

                          COUNT III – FRAUD IN THE INDUCEMENT

            Plaintiff readopts and realleges paragraphs 1 through 10 above as though fully set forth

   herein and further states:

            30.    At all times material hereto, the policy issued by Foresters to Rigoberto Vinas

   provided coverage to Mr. Vinas’ beneficiary in the event of Rigoberto Vinas’ death, in

   exchange for the payment of premiums charged.

            31.    At all times material hereto, Rigoberto Vinas purchased the Policy to protect

   his beneficiary from incurring expenses and to provide financial security in the event of his

   death.
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          32.     At all times material hereto, all the Policy provisions constituted specific

   representations to o by Foresters in the form of contractual promises and/or statements of

   present intention. The Policy was executed and attested to on behalf of Foresters by its

   Executive Secretary, K. Routhiaike.

          33.     At all times material hereto, the Application which became part of the Policy

   under Florida law, required Rigoberto Vinas to provide answers that were “full, complete,

   and true to the best of [his] knowledge and belief.”

          34.     At all times material hereto, in issuing the Policy, Foresters knew that the

   Application for Insurance completed by Mr. Vinas had to be answered to his “best knowledge

   and belief.”

          35.     At all times material hereto, Foresters knew that if Rigoberto Vinas died within

   the first two years following the issuance of the Policy, the Policy would be contestable under

   Florida law. That is, Foresters knew that it would have the opportunity to review the

   Application questions and determine whether the information provided was answered to

   Rigoberto Vinas’ “best knowledge and belief.”

          36.     At all times material hereto, Foresters falsely and fraudulently represented,

   through language in the Policy and incorporated Florida law, that in the event Mr. Vinas were

   to die from a non-excluded cause within the first two years following issuance of the Policy,

   Foresters would pay benefits under the Policy as long as Mr. Vinas answered the Application

   questions to his best knowledge and belief.

          37.     At all times material hereto, this representation by Foresters was false and

   Foresters knew it to be false when it was made to Rigoberto Vinas in order to induce Rigoberto

   Vinas to enter into the Policy of Insurance with Foresters. The representation was made to
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   induce Rigoberto Vinas to pay premiums for the policy despite the fact that Foresters knew it

   had no intention to ever pay benefits if Rigoberto Vinas were to die during the first two years

   following issuance of the Policy even if Application answers were provided to Mr. Vinas’ best

   knowledge and belief. This statement was a false statement of material fact by Foresters to

   Rigoberto Vinas contained within the Policy language and incorporated Florida law.

          38.    At all times material hereto, Foresters knew or should have known this promise

   was false when made as Foresters intended, at the time of sale of the policy, to improperly

   ignore Mr. Vinas’ “best knowledge and belief” in the Application and instead deny a claim

   based upon Foresters’ interpretation of the medical accuracy of information without regard

   to Rigoberto Vinas’ best knowledge and belief.

          39.    At all times material hereto, the direct and circumstantial evidence of the falsity

   of Foresters’ statement and promise to pay a claim within the first two years as long as

   Rigoberto Vinas answered Application questions to his best knowledge and belief included

   the fact that, upon presentation of the Mr. Vinas claim to Foresters, Foresters never even

   made inquiry into Rigoberto Vinas’ best knowledge and belief.

          40.    At all times material hereto, the direct and circumstantial evidence of the falsity

   of Foresters’ representation also included the fact that Foresters expressly ignored evidence in

   its own claim file which directly provided Rigoberto Vinas’ best knowledge and belief was

   that he did not have diabetes, instead relying on unconfirmed and contradictory medical

   records which provided no indication of Mr. Vinas’ best knowledge and belief regarding his

   medical condition.

          41.    At all times material hereto, Foresters intended and made promises to

   Rigoberto Vinas to induce his reliance on them so it could collect premiums without any
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    liability for actually paying a life insurance claim in the event Mr. Vinas were to die during

    the first two years following issuance of the Policy, using its willful blindness to the

    information available to it as a false defense.

              42.   At all times material hereto, Foresters’ false promise with no intention to pay

    Mr. Vinas during the first two years following issuance of the Policy, furthered an apparent

    institutional position of not investigating insureds’ best knowledge and belief when

    investigating contestable claims (life insurance claims made within the first two years after

    death).

              43.   At all times material hereto, Rigoberto Vinas justifiably relied upon the false

    representations made by Foresters to his detriment by entering into the Policy of Insurance,

    paying premiums and believing that his beneficiary was covered in the event of his death.

              44.   At all times material hereto, Foresters committed intentional misconduct, i.e.,

    Foresters knew that its actions in denying the Policy were wrongful and knew or should have

    known of the high probability that Vinas would be damaged by not receiving the monies that

    the Policy had promised, but still refused to honor the Policy; or, in the alternative, Foresters’

    committed gross negligence, i.e., its conduct was so reckless or wanting in care that it

    amounted to a conscience indifference to Vinas’ rights.

              45.   At all times material hereto, as a result of Rigoberto Vinas’ justifiable reliance

    on Foresters’ fraudulent inducement to enter into the Insurance Contract and his payment of

    premiums based on false promises, Vinas has been damaged and Foresters is estopped to deny

    coverage for the full payment of benefits under the Policy as well as all damages actually and

    consequentially flowing from Foresters actions and inactions.

              WHEREFORE, Plaintiff, Digna Vinas, seeks the following:
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           a)     Payment of the full amount of life insurance benefits due under the Policy and

    all consequential damages.

           b)     A Declaration that Rigoberto Vinas’ Policy was in full force and effect and is

    valid and enforceable.

           c)     A Declaratory Decree by the Court interpreting those portions of the Policy in

    which the parties have an actual dispute.

           d)     Attorney’s fees, costs and other such relief as this Court deems just and proper

    under Fla. Stat. §627.428 or other Florida Statute providing for attorney’s fees.

           e)     Pre and Post-judgment interest on the total damages including consequential

    damages, the Insurance Policy benefits and attorney’s fees at the present statutory rate from

    the date Rigoberto Vinas died through the date this Court enters Judgment.

           f)     Punitive damages.

                                   DEMAND FOR JURY TRIAL

           Vinas demands a trial by jury of all issues so triable as a matter of right.

                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on March 16, 2020, the foregoing document was served

    via the CM/ECF system to Kristina B. Pett, Esq., Danielle E. Shure, Esq., McDowell

    Hetherington LLP, Attorneys for Defendant, 2101 N.W. Corporate Blvd. Suite 316, Boca

    Raton, FL 33431, kristina.pett@mhllp.com, Danielle.shure@mhllp.com.

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